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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

DIEGO ARBOLEDA,

        Plaintiff,

v.                                                           CASE NO:

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

        Defendant.
                                                     /

         STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY’S
       NOTICE OF REMOVAL AND INCORPORATED MEMORANDUM OF LAW

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1367, 1441, and 1446,

Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE CO. (hereinafter

“Defendant”), hereby removes to this Court the action filed against it in the Twentieth Judicial

Circuit in and for Lee County, Florida, Civil Division, Case Number 17-CA-001925. As grounds

for removal of this action to the United States District Court for the Middle District of Florida,

Fort Myers Division, Defendant states as follows:

                                  FACTUAL BACKGROUND

     1. This action arises out of a motor vehicle accident occurring on October 10, 2016, following

        which Plaintiff, DIEGO ARBOLEDA (hereinafter “Plaintiff”), submitted a claim for

        uninsured/underinsured motorist benefits to Defendant, his underinsured motorist (UM)

        carrier.

     2. On May 2, 2017, Plaintiff sent a time-limited Demand Letter to Defendant as the

        tortfeasor’s bodily injury (BI) insurance carrier, and as his own UM carrier. See May 2

        Demand Letter, attached as Exhibit A.

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 3. In his May 2 Demand Letter, which is 6 pages in length, Plaintiff described in detail the

    accident and his injuries and treatment – including right hip surgery – and ultimately

    demanded the BI policy limits of $50,000.00 and the UM policy limits of $100,000.00. Id.

 4. Plaintiff also indicated that, excluding the charges of Gulf Coast Medical Center for the

    right hip surgery, his medical bills amounted to $31,564.38. Id.

 5. On June 7, 2017, Plaintiff sent a second time-limited Demand Letter to Defendant, in which

    he again demanded the UM policy limits of $100,000.00, and to which he attached the

    $50,028.61 bill from Lee Memorial Health System associated with his hip surgery. See

    June 7 Demand Letter, attached as Exhibit B.

 6. Accordingly, as of June 7, 2017, it appears that Plaintiff’s medical expenses amounted to

    $81,592.99.

 7. On June 9, 2017, Plaintiff filed a Civil Remedy Notice, claiming that Defendant should

    have tendered the UM policy limits of $100,000.00. See Civil Remedy Notice, attached as

    Exhibit C.

 8. On the same day, Plaintiff filed this action against Defendant in the Circuit Court for the

    Twentieth Judicial Circuit in and for Lee County, Florida, Civil Division, Case Number

    17-CA-001925 (hereinafter the “State Court Action”).

 9. On June 22, 2017, Defendant was served with a copy of Plaintiff’s Complaint (i.e., the

    initial pleading setting forth the claim for relief upon which this action is based).

 10. Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely filed, as it is filed within

    thirty (30) days of June 22, 2017.

 11. Further, Defendant has not previously filed a Notice of Removal of this matter in this Court.




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   12. Venue of this removal in the Middle District of Florida, Fort Myers Division is proper

       under 28 U.S.C. § 1441(a) because the Middle District of Florida, Fort Myers Division

       embraces Lee County, the place where the action is currently pending.

   13. Because Defendant is incorporated in the State of Illinois, and its principal place of

       business is Bloomington, Illinois, Defendant is deemed a citizen of the State of Illinois

       under 28 U.S.C. § 1332.

   14. As explained in more detail below, Plaintiff is a citizen of the State of Florida.

   15. Accordingly, there is diversity of citizenship between the parties, as required for removal

       by 28 U.S.C. § 1332.

   16. In addition, as explained in more detail below, the amount in controversy in this matter

       exceeds $75,000.00, exclusive of interests and costs, as required for removal by 28 U.S.C.

       § 1332.

   17. Pursuant to 28 U.S.C. § 1446(d), Defendant will give written notice of this removal to

       counsel for Plaintiff.

   18. In addition, Defendant will file a copy of this Notice of Removal with the Clerk of the

       Court for the Twentieth Judicial Circuit in and for Lee County, Florida.

   19. For the reasons set forth herein, this Court should accept jurisdiction over this action.

                                  MEMORANDUM OF LAW

       This action may be removed pursuant to 28 U.S.C. § 1441(a), and this Court has original

jurisdiction of this matter under the provisions of 28 U.S.C. § 1332, because, as explained in more

detail below, complete diversity of citizenship exists between the parties, and the amount in

controversy exceeds the jurisdictional threshold. In demonstrating the existence of these two

“substantive jurisdictional requirements of removal,” Defendant is not limited in the “types of



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evidence that may be used to satisfy the preponderance of the evidence standard. Defendant[] may

introduce [its] own affidavits, declarations, or other documentation.” Pretka v. Kolter City Plaza

II, Inc., 608 F. 3d 744, 755 (11th Cir. 2010).

        I. DIVERSITY OF CITIZENSHIP EXISTS BETWEEN THE PARTIES.

        For diversity jurisdiction purposes, a party’s state citizenship, or domicile, “is determined

by two factors: residence and intent to remain.” Jones v. Law Firm of Hill and Ponton, 141 F.

Supp. 2d 1349, 1355 (M.D. Fla. 2001). In addition, in determining a party’s citizenship, “a court

should consider both positive evidence and presumptions. One such presumption is that the state

in which a person resides at any given time is also that person’s domicile.” Id. (citations omitted).

However, because no single factor is conclusive, the court must look to the “totality of the

evidence.” Id.

        First, Plaintiff’s Complaint alleges that Plaintiff is a resident of Lehigh Acres, Lee County,

Florida. See Complaint at ¶ 2. In addition, it indicates that the subject accident occurred in Lehigh

Acres, Lee County, Florida. Id. at ¶ 7. Further, Plaintiff’s Civil Remedy Notice indicates that he

lives in Lehigh Acres, Florida. See Exhibit C. Thus, considering the totality of the evidence, as

well as the presumption that the state in which a person resides is also that person’s domicile, this

Notice of Removal, together with Plaintiff’s Complaint, establish by a preponderance of the

evidence that Plaintiff is a citizen of the State of Florida.

        Pursuant to 28 U.S.C. § 1332(c), a corporation is deemed a citizen of the State by which it

has been incorporated and of the State where it has its principal place of business. Defendant is

incorporated in the State of Illinois, and its principal place of business is Bloomington, Illinois.

Thus, under 28 U.S.C. § 1332, for purposes of this removal, Defendant is deemed a citizen of the




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State of Illinois. Accordingly, diversity of citizenship exists between Plaintiff and Defendant, and

the first requirement for diversity jurisdiction is satisfied.

        II. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00. 1

        In determining the amount in controversy, a district court should look to “the value of the

relief being sought by Plaintiff in its complaint.” Viacom, Inc. v. Zebe, 882 F. Supp. 1063, 1065

(S.D. Fla. 1995). Of course, deciphering such value can be difficult because “a plaintiff who has

chosen to file her case in state court will generally wish to remain beyond the reach of federal

jurisdiction, and as a result, she will not assign a specific amount to the damages sought in her

complaint.” Lowery v. Alabama Power Co., 483 F. 3d 1184, 1213 n.63 (11th Cir. 2007). Thus,

where a “plaintiff has not pled a specific amount of damages, the removing defendant must prove

by a preponderance of the evidence that the amount in controversy exceeds the jurisdictional

requirement.” Williams v. Best Buy Co., Inc., 269 F. 3d 1316, 1319 (11th Cir.2001).

        Meeting this burden is helped by the fact that, when a “plaintiff’s claim . . . is specific and

in a pleading signed by a lawyer, [it] deserves deference and a presumption of truth.” Burns v.

Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994). The court should “assume that plaintiff’s

counsel best knows the value of his client's case and . . . that plaintiff’s counsel understands that,

because federal removal jurisdiction is in part determined by the amount of damages a plaintiff

seeks, the counsel’s choices and representations about damages have important legal

consequences.” Id. Accordingly, where a plaintiff claims a series of damages, she claims that she

is entitled to each type of damage listed, and each of those claims “deserves defense and a

presumption of truth.” Id.




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 Defendant’s position that the jurisdictional amount has been met in this matter is not an endorsement as to the
accuracy or the merits of any of the allegations in Plaintiff’s Complaint, Demand Letters or Civil Remedy Notice.

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       The deference and presumption of truth afforded to a plaintiff’s claims are especially

important where no specific amount of damages is claimed because, under such circumstances,

“removal from state court is proper if it is facially apparent from the complaint that the amount in

controversy exceeds the jurisdictional requirement.” Williams, 269 F. 3d at 1319; Roe v. Michelin

North America, Inc., 613 F. 3d 1058, 1062-63 (11th Cir. 2010). “Eleventh Circuit precedent

permits district courts to make ‘reasonable deductions, reasonable inferences, or other reasonable

extrapolations’ from the pleadings to determine whether it is facially apparent that a case is

removable.” Roe, 613 F. 3d at 1061-62. District court judges may also “appraise the worth of

plaintiffs’ claims based on the nature of the allegations stated in their complaints.” Id. at 1063. For

example, where the complaint lacked a specific damage request, the court found that “the plaintiff's

allegations – that her slip and fall resulted in severe physical injury, lost wages, lost enjoyment of

life, and pain and suffering – appeared to comprise a claim worth more than $75,000.” Id. (citing

Gebbia v. Wal–Mart Stores, Inc., 233 F. 3d 880, 882 (5th Cir. 2000)); see also Luckett v. Delta

Airlines, Inc., 171 F. 3d 295 (5th Cir. 1999) (“[A]llegations of property damage, travel expenses,

[an] emergency ambulance trip, six days in the hospital, pain and suffering, humiliation, and a

temporary inability to do housework . . . combined to meet the jurisdictional requirement even

though no amount of damages was pled.”).

       Even if the amount in controversy is not “facially apparent” from the complaint, the

removal does not fail, and the inquiry does not end. Indeed, “[i]f the jurisdictional amount is not

facially apparent from the complaint, the court should look to the notice of removal and may

require evidence relevant to the amount in controversy at the time the case was removed.”

Williams, 269 F. 2d at 1319. To this end, district courts often consider “affidavits, declarations or




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other documents,” submitted along with the notice of removal, including demand letters and their

supporting documentation.

       In order to demonstrate by a preponderance of the evidence that the amount in controversy

exceeds the jurisdictional threshold, the demand letter must contain an “honest assessment” of the

damages claimed. See Golden, 1 F. Supp. 2d at 1364; see also Cross v. Wal–Mart Stores, 2011

WL 976414, at *2 (M.D. Ga. 2011) (“More weight should be given to a settlement demand if it is

an honest assessment of damages.”). Courts have found that such an “honest assessment” exists

where the demand letter “provide[s] specific information . . . to support [the plaintiff’s] claim for

damages,” Jackson v. Select Portfolio Servicing, Inc., 651 F. Supp. 2d 1279, 1281 (S.D. Ala. 2009)

(quotations omitted), where the demand letter includes a “detailed accounting of [the plaintiff’s]

injuries, medical treatments, prognosis, and future expenses,” Crutchfield v. State Farm Mut. Auto.

Ins. Co., 2013 WL 616921, at *2 (M.D. Fla. 2013), where the “demand package . . . is based on

medical records provided by the Plaintiff,” Katz v. J.C. Penney Corp., Inc., 2009 WL 1532129, at

*5 (S.D. Fla. 2009), and where the demand letter “delineates the extent of [the plaintiff’s] injuries,

the physicians who have treated her, and the medical care she received from each of those

physicians,” Wilson v. Target Corp., 2010 WL 3632794, at *4 (S.D. Fla. 2010).

       In addition, this Court has also found that a Civil Remedy Notice has sufficed as evidence

of the amount in controversy when it contained an explicit assertion about the value of the claim.

See Wilt v. Depositors Ins. Co., 2013 WL 6195768 (M.D. Fla. Nov. 16, 2013). Indeed, in Wilt, the

defendant attempted to remove the case to federal court based on only the plaintiff’s complaint

and a letter memorializing her demand for an amount greater than the jurisdictional threshold. Id.

at *2. In response to the plaintiff’s motion to remand, the defendant “drew the Court’s attention to

. . . a Civil Remedy Notice” which stated, “[i]t is abundantly clear, from the medical



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documentation, and the statement under oath provided by Mrs. Wilt, that her claim has a value

well in excess of the remaining available policy limits” (which were greater than $75,000.00). Id.

at *3. It should be noted that the defendant did not provide the Court with the “medical

documentation” nor the “statement under oath” described the plaintiff’s Civil Remedy Notice. This

Court found that the plaintiff’s Civil Remedy Notice constituted “further evidence from which it

can be reasonably inferred that the amount in controversy exceeds $75,000,” and ultimately

concluded that, based on plaintiff’s complaint, demand and Civil Remedy Notice, the defendant

had met its burden of establishing the jurisdictional threshold by a preponderance of the evidence.

Id. at *7.

        Finally, in those cases where the removing defendant may later become entitled to set-offs

for proceeds paid to or on behalf of a plaintiff for the damages she has allegedly incurred, this

Court “must [nevertheless] look to the amount in controversy at the time of removal. . . . [S]ubject

matter jurisdiction is not defeated simply because the parties might anticipate a future reduction in

recoverable damages.” Stramiello v. Petsmart, Inc., 2010 WL 2136550, *4 (M.D. Fla. May 26,

2010) (defendant established the amount in controversy because the plaintiff was entitled to seek

$108,351.92 in medical expenses, despite that defendant would be entitled to an $85,904.97 setoff)

(emphasis added). Accordingly, “any set-off to which Defendant may be entitled is irrelevant at

the jurisdictional stage, as the Court must look at the amount in controversy at the time of removal.”

Black v. State Farm Mut. Auto. Ins. Co., 2010 WL 4340281 (S.D. Fla. Oct. 22, 2010) (disregarding

the fact that defendant was entitled to a $34,000.00 setoff) (emphasis added).

             a. Plaintiff’s Complaint

        In his Complaint, Plaintiff alleges that, as a result of the subject accident, he “suffered

permanent bodily injury and resulting pain and suffering, disability, disfigurement, loss of the



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capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and

treatment, aggravation of a previously existing condition and/or activation of a latent condition;”

that his “injuries are permanent and continuing;” and that he “will continue to suffer said losses in

the future.” See Complaint at ¶ 13. Thus, Plaintiff has alleged that he is entitled to damages for

past and future medical expenses, as well as past and future pain and suffering.

       These allegations must be considered with “deference and a presumption of truth.” Burns,

31 F.3d at 109. In addition, these allegations are similar to those discussed in Gebbia and Luckett,

which “appeared to comprise a claim worth more than $75,000.” See Gebbia, 233 F. 3d 880;

Luckett, 171 F. 3d 295. Thus, it is facially apparent from Plaintiff’s Complaint that the amount in

controversy in this matter exceeds $75,000.00.

           b. Plaintiff’s Demand Letters

       Notwithstanding the fact that the jurisdictional amount is facially apparent from Plaintiff’s

Complaint, there is additional evidence attached to this Notice of Removal which further proves

by a preponderance of the evidence that the amount in controversy exceeds $75,000.00. As

previously mentioned, on May 2, 2017, Plaintiff sent a Demand Letter to Defendant, in which he

demanded the BI policy limits of $50,000.00 and the UM policy limits of $100,000.00. See Exhibit

A. In this Demand Letter, which is 6 pages in length, Plaintiff described in extensive detail the

accident; his position on liability; his medical treatment, including a right hip surgery; and his

medical bills, which, excluding the charges of Gulf Coast Medical Center for the right hip surgery,

amounted to $31,564.38. Id. Plaintiff also attached copies of his medical records and bills to the

May 2 Demand Letter. Id. On June 7, 2017, Plaintiff sent a second Demand Letter to Defendant,

in which he again insisted that his damages, both economic and noneconomic, have a value “far

in excess” of the combined bodily injury and UM limits of $150,000.00, and again demanded the



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UM policy limits of $100,000.00. Plaintiff attached the $50,028.61 bill from Lee Memorial Health

System associated with his hip surgery 2 to the June 7 Demand Letter. Thus, combining the

representations made in both Demand Letters, it appears that, as of June 7, Plaintiff’s medical

expenses totaled $81,592.99 (i.e., an amount greater than the jurisdiction threshold).

           The demands made in Plaintiff’s Demand Letters appear to be based on the medical

services and charges incurred by Plaintiff thus far. These include, but are not limited to, the surgical

reparation of a labral tear in his right hip with arthroscopy, acetabular chondroplasty and femoral

osteochondroplasty, which Plaintiff claims to have resulted in a permanent impairment of his hip.

See Exhibits A, B and C. Further, in support of the claims made in his Demand Letters, Plaintiff

provided copies of his medical records and bills, including the Lee Memorial Health System bill

associated with his hip surgery, which reflects charges of $50,028.61. See Exhibits A and B.

            Plaintiff’s Demand Letters clearly “provide specific information . . . to support [Plaintiff’s]

claim for damages,” as well as a “detailed accounting of [Plaintiff’s] injuries, medical treatments,

prognosis, and future expenses.” See Jackson, 651 F.Supp.2d 1279; Crutchfield, 2013 WL 61692.

They are also “based on medical records provided by the Plaintiff.” See Katz, 2009 WL 1532129.

Inevitably, Plaintiff considered his alleged injuries, his past medical treatment (including his right

hip surgery), his past medical charges, and his potential noneconomic damages, when he made his

demands for the BI policy limits of $50,000.00 and the UM policy limits of $100,000.00. See

Exhibits A and B. As a result, Plaintiff’s Demand Letters constitute an “honest assessment” of the

damages claimed in this lawsuit, and they further establish by a preponderance of the evidence that

the amount in controversy in this matter exceeds $75,000.00. See Golden, 1 F. Supp. 2d at 1364;

Cross, 2011 WL 976414.



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    This bill appears to be the “Gulf Coast Medical Center” bill referenced in Plaintiff’s May 2 Demand Letter.

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       c. Plaintiff’s Civil Remedy Notice

       In addition to Plaintiff’s Complaint and Demand Letters, there is a third piece of evidence

of the amount in controversy. As mentioned previously, on June 9, 2017, Plaintiff filed a Civil

Remedy Notice against Defendant. See Exhibit “C.” The Civil Remedy Notice stated that Plaintiff

“underwent a significant amount of medical care and treatment, culminating in surgical repair of

his left (sic) hip labral tear with arthroscopy, acetabular chondroplasty and femoral

osteochondroplasty,” that the injury to his left hip “resulted in a permanent impairment,” and that

“[Plaintiff’s] claim far exceed[s] the total available limits, considering his economic and non-

economic damages.” Id. Like the Civil Remedy Notice in Wilt, Plaintiff’s Civil Remedy Notice

makes an explicit assertion regarding the value of Plaintiff’s claim, and, as such, this Court may

consider Plaintiff’s Civil Remedy Notice as “further evidence from which it can be reasonably

inferred that the amount in controversy exceeds $75,000.” Id. at *7.

       Ultimately, the allegations made in Plaintiff’s Complaint make it facially apparent that, at

this time of removal, the jurisdictional threshold has been met. To be sure, however, Plaintiff’s

Demand Letters provide an “honest assessment” that the value of Plaintiff’s claim exceeds

$150,000.00 (i.e., double the jurisdictional threshold), and demand the BI limits of $50,000.00 and

the UM policy limits of $100,000.00. Further, Plaintiff’s Civil Remedy Notice indicates that his

damages exceed the jurisdictional threshold as well. Based on the foregoing, Defendant has proven

by a preponderance of the evidence that the second requirement for diversity jurisdiction under 28

U.S.C. § 1332 has been met.

                                        CONCLUSION

       For the reasons stated above, all requirements for diversity jurisdiction under 28 U.S.C. §

1332 have been met. First, complete diversity of citizenship exists between Plaintiff and



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Defendant. Second, the amount in controversy exceeds the jurisdictional threshold. Thus, it is

proper for this Court to exercise subject matter jurisdiction over this action.

       WHEREFORE, Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE

CO., respectfully requests that the State Court Action now pending in the Twentieth Judicial

Circuit in and for Lee County, Florida be removed to the United States District Court for the

Middle District of Florida, Fort Myers Division, and further requests that this Court assume

jurisdiction over this action as provided by law.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on July 19, 2017, I presented the foregoing to the Clerk of

the Court for filing and uploading to the CM/ECF system, and that I emailed the foregoing

document and the notice of electronic filing to the following non-CM/ECF participants:

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